                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


ALETA PEER,                                   )
                                              )
        Plaintiff,                            )
                                              )       Case No. 3:05-1085
v.                                            )       Judge Trauger
                                              )
INTEGRA SOFTWARE SYSTEMS,                     )
                                              )
        Defendant.                            )


                                        MEMORANDUM

        Pending before the court is the Motion for Summary Judgment filed by the defendant,

Integra Software Systems (Docket No. 22), to which plaintiff Aleta Peer has responded (Docket

No. 30), and the defendant has replied (Docket No. 33-1). For the reasons discussed herein, the

defendant’s motion will be granted.



                                  FACTUAL BACKGROUND

        The defendant is a software development company that “designs, sells and maintains

software that automates the mortgage industry.”1 (See Docket No. 31 ¶ 1.) It hired the plaintiff

on September 1, 2003. The plaintiff’s date of birth is March 14, 1953.

        In her position as “Product/Pricing Specialist,” the plaintiff served as a team leader and

had contact with the defendant’s customers. The defendant claims that “[the p]laintiff’s poor

work performance reflected negatively on Integra and caused the loss of more than one

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        Unless otherwise noted, all facts have been drawn from the plaintiff’s Responses to
Integra’s Statement of Undisputed Material Facts (Docket No. 31).

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customer.” (See Docket No. 31 ¶ 27.)

       The plaintiff was the defendant’s primary contact for Gateway Funding Diversified

Mortgage Services (“Gateway”). Brian McGovern, Gateway’s chief information officer,

testified that “[f]rom the very beginning of Gateway’s work with Ms. Peer, Gateway had

difficulty receiving completed work from Integra on a timely basis. During our work with Ms.

Peer, she repeatedly missed deadlines. When we did receive a software product from Ms. Peer,

there were numerous date mismatches and errors in the product.” (See Docket no. 29 ¶ 3.) He

also noted that he decided that Gateway should end its relationship with the defendant with

respect to that project “because of the poor service provided to us by Ms. Peer.” (Id. ¶ 4.) The

plaintiff acknowledges that “there were errors in the Gateway work.” (See Docket No. 32 ¶ 38.)

       The plaintiff also handled the account of Vitek, another of the defendant’s customers. As

the plaintiff admits, Vitek expressed to the defendant its belief that the plaintiff was not fully

able to meet its needs. In order to retain Vitek as a customer, the defendant had to assign a

different employee to the Vitek account.

       The plaintiff was also assigned to the First Capital Group (“First Capital”) account. Paul

Adelmann, a First Capital consultant who worked directly with the plaintiff on this account,

testified that the software that it received from the plaintiff “was of no value.” (See Docket No.

27 ¶ 3.) He recommended that First Capital end its relationship with the defendant on this aspect

of First Capital’s project, which First Capital did. (Id.) Adelmann asserts that he believes that

working with the plaintiff “wasted eight months of First Capital’s time.” (Id.)

       The plaintiff herself admits that, “[o]n several occassions, [she] missed deadlines for

delivering products to clients, on some occasions, deadlines she herself set.” (Docket No. 31 ¶

20.) She also acknowledges that “a new employee, a recent high school graduate working for

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$8.00 an hour, completed in one week with only three hours of initial training a project of the

type that took Plaintiff several weeks to perform.” (Id. ¶ 21.)

       On May 13, 2005, the defendant issued the plaintiff a written reprimand in which it noted

that (1) her performance “had become increasingly substandard”; (2) she was “consistently late

with the delivery of her assigned projects”; (3) she had a “poor attitude”; and (4) she had, that

same day, left work without her supervisor’s approval. (Id. ¶¶ 68-73.) On June 21, 2005, the

plaintiff was terminated.

       At the same time that he informed her of her termination, the plaintiff’s supervisor, Jason

Hebert, offered the plaintiff a contract position under which she would earn $1,500 for each

investor guideline that she completed to the defendant’s satisfaction. Hebert and the plaintiff

exchanged emails about the details of the position but, as of the morning of June 29, 2005, the

plaintiff had not told the defendant whether she planned to accept it. That day, Hebert emailed

the plaintiff and asked her for a final answer by the defendant’s close of business, i.e., 7:00 p.m.

The plaintiff responded that evening at 9:45 p.m. with questions about her laptop, among other

things, but without an answer.

       According to the defendant, it decided that it would extend the plaintiff’s offer through

July 5, 2005. Having not heard back from the plaintiff by that date, the defendant informed the

plaintiff that it was rescinding her offer. The defendant claims that it did so “because it felt that

Plaintiff was not interested in the job.” (Id. ¶ 100.)

       The defendant hired two young men soon after the plaintiff’s termination. Although the

men were hired to “do product guidelines,” the plaintiff recognizes that she had been hired to do

“much more than product guidelines.” (Id. ¶¶ 105-07.)

       The plaintiff filed a charge of discrimination with the Tennessee Human Rights

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Commission (“THRC”) on an unspecified date. (See Docket No. 1 at 2.) She filed her

Complaint in this court on December 29, 2005.



                                        MEMORANDUM

        Although the plaintiff originally complained of “discrimination on the basis of age and

gender and retaliation,” she appears to have abandoned her gender discrimination claim. (See

Docket No. 1 ¶ 8.) She admitted in her deposition that she does not believe that her termination

“ha[d] anything to do with [her] sex.” (See Docket No. 24 at 139.) Further, the plaintiff refutes

neither the defendant’s assertion that she “has not produced a shred of evidence regarding this

claim” nor its indication that “her counsel has advised [the defendant’s] counsel that Plaintiff

will not be pursuing this sex discrimination claim.” (See Docket No. 23-1 at 10.) As such, the

court will analyze only the plaintiff’s age discrimination and retaliation2 claims. The defendant

has moved for summary judgment on each of these claims. (See Docket No. 22.)

        Federal Rule of Civil Procedure 56(c) provides that summary judgment shall be granted

if

“the pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). To prevail, the moving

party must meet the burden of proving the absence of a genuine issue of material fact as to an

essential element of the opposing party’s claim. See Celotex Corp. v. Catrett, 477 U.S. 317, 323


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         The court notes, as does the defendant, that the plaintiff failed to mention her retaliation
claim in her Memorandum in Opposition to Defendant’s Motion for Summary Judgment. (See
Docket No. 30 at 1-7; Docket No. 33 at 9.) Because it has no other evidence that the plaintiff
intends to abandon this claim as well, the court will consider it.

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(1986); Logan v. Denny’s, Inc., 259 F.3d 558, 566 (6th Cir. 2001).

       In determining whether the moving party has met its burden, the court must view the

factual evidence and draw all reasonable inferences in the light most favorable to the nonmoving

party. See Matsushita Electric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986);

McLean v. 988011 Ontario, Ltd., 224 F.3d 797, 800 (6th Cir. 2000). “The court’s function is not

to weigh the evidence and determine the truth of the matters asserted, ‘but to determine whether

there is a genuine issue for trial.’” Little Caesar Enters., Inc. v. OPPCO, LLC, 219 F.3d 547,

551 (6th Cir. 2000) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)).

       If the nonmoving party fails to make a sufficient showing on an essential element of the

case with respect to which she has the burden, however, the moving party is entitled to summary

judgment as a matter of law. See Williams v. Ford Motor Co., 187 F.3d 533, 537-38 (6th Cir.

1999). To preclude summary judgment, the nonmoving party “must go beyond the pleadings

and come forward with specific facts to demonstrate that there is a genuine issue for trial.” Chao

v. Hall Holding Co., Inc., 285 F.3d 415, 424 (6th Cir. 2002). “The mere existence of a scintilla

of evidence in support of the [nonmoving party’s] position will be insufficient; there must be

evidence on which the jury could reasonably find for the [nonmoving party].” Shah v. Racetrac

Petroleum Co., 338 F.3d 557, 566 (6th Cir. 2003) (quoting Anderson, 477 U.S. at 252). If the

evidence offered by the nonmoving party is “merely colorable,” or “not significantly probative,”

or not enough to lead a fair-minded jury to find for the nonmoving party, the motion for

summary judgment should be granted. Anderson, 477 U.S. at 249-52. “A genuine dispute

between the parties on an issue of material fact must exist to render summary judgment

inappropriate.” Hill v. White, 190 F.3d 427, 430 (6th Cir. 1999) (citing Anderson, 477 U.S. at

247-49).

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I.      No genuine issue of material fact exists as to whether the plaintiff was subjected to
        discrimination on the basis of her age.

        The plaintiff claims that the defendant discriminated against her based on her age

because, “insofar as she knows, younger men were hired” to replace her. (See Docket No. 30 at

4-5.) Like the defendant, the court cannot determine from the plaintiff’s pleadings which statute

she hopes to use as a vehicle for her age discrimination claim. (See Docket No. 23-1 at 11 n.4.)

The court will presume that she brings her claim under the ADEA and the THRA, both of which

are properly analyzed under the McDonnell Douglas burden-shifting analysis that she employs in

her Memorandum. See Brennan v. Tractor Supply Co., No. 05-6487, 2007 WL 1296032, at *6

(6th Cir. May 2, 2007) (unpublished); Moore v. Nashville Elec. Power Bd., 72 S.W.3d 643, 651

(Tenn. Ct. App. 2001); see also McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973).



        A.     The defendant does not contest the plaintiff’s assertion that she has established
               a prima facie case of age discrimination.

        To make out an age discrimination claim based on circumstantial evidence, as the

plaintiff seeks to do here, a plaintiff-employee must establish a prima facie case of

discrimination by demonstrating the following elements: (1) she was in a protected class; (2) she

was qualified for the position that she held; (3) she was terminated; and (4) she was either

replaced by a person not in the protected class or a comparable, non-protected person was treated

better. See Stockman v. Oakcrest Dental Ctr., 480 F.3d 791, 801 (6th Cir. 2007).

        Once a plaintiff demonstrates her prima facie case, the burden of production shifts to the

defendant to articulate a legitimate, nondiscriminatory reason for her termination, after which the

plaintiff must demonstrate that the proffered reason was mere pretext for what was actually an



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improper motive. See Abbott v. Crown Motor Co., 348 F.3d 537, 542 (6th Cir. 2003); Williams

v. Nashville Network, 132 F.3d 1123, 1131 (6th Cir. 1997).

        Here, the defendant concedes that the plaintiff has established a prima facie case of age

discrimination for the purposes of her summary judgment motion. (See Docket No. 33-1 at 2.)

As such, the court will move on to the next step of the McDonnell Douglas analysis.



        B.      No genuine issue of material fact exists as to whether the defendant has
                advanced a legitimate, nondiscriminatory reason for the plaintiff’s termination.

        Once the plaintiff has established a prima facie case of discrimination, the burden of

producing some legitimate, nondiscriminatory reason for the action falls on the defendant. Texas

Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 254 (1981); Williams, 132 F.3d at 1131. This is

a burden of production; while the defendant “need not persuade the court that it was actually

motivated by the proffered reasons,” it must raise “a genuine issue of fact as to whether it

discriminated against the plaintiff.” Cline v. Catholic Diocese of Toledo, 206 F.3d 651, 666 (6th

Cir. 2000) (citing Burdine, 450 U.S. at 254). In making this showing, the defendant must

“clearly set forth . . . the reasons for the plaintiff's rejection," and such reasons "must be legally

sufficient to justify a judgment for the defendant." Cline, 206 F.3d at 666.

        The defendant claims that the plaintiff was fired (1) for poor performance, i.e., because

she “provided poor work product and clients found it difficult to interact with her . . .”; and (2)

because she “was insubordinate and violated [the defendant’s] personnel policies.” (See Docket

No. 23-1 at 12-13.) With the proffer of this explanation, the defendant has met its burden at this

stage of the McDonnell Douglas analysis. See Arnold v. Marous Bros. Constr., Inc., 211 Fed.

App’x 377, 381 (6th Cir. 2006) (“This court has confirmed that insubordination can constitute


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legitimate reasons for termination.”); Clark v. Alcan Aluminum Corp., 41 Fed. App’x 767, 775

(6th Cir. 2002 ) (explicitly citing poor performance as a legitimate reason for an adverse action).

Accordingly, the onus now shifts to the plaintiff to demonstrate that the defendant’s asserted

reasons for her termination were mere pretext for discrimination. See Abbott, 348 F.3d at 542.



       C.      No genuine issue of material fact exists as to whether the defendant’s reasons
               for the plaintiff’s termination were mere pretext for discrimination.

       To demonstrate that her employer’s explanation is pretextual, a plaintiff must show, by a

preponderance of the evidence, one of the following: (1) that the proffered reasons had no basis

in fact; (2) that the reasons did not actually motivate the employer’s actions; or (3) that the

reasons were insufficient to motivate the employer’s actions. Manzer v. Diamond Shamrock

Chemicals, 29 F.3d 1078, 1084 (6th Cir. 1994). “A blanket denial that the employer's articulated

reasons for [taking an adverse action against an employee] . . . were incorrect . . . is not enough;

a plaintiff must take the extra step of presenting evidence to show that the reasons given are an

attempt to cover up the employer's alleged real discriminatory motive.” Irvin v. Airco Carbide,

837 F.2d 724, 726 (6th Cir. 1987). If the plaintiff demonstrates that the defendant's proffered,

nondiscriminatory reason is a pretext, then the fact finder may infer unlawful discrimination.

See Kline v. Tenn. Valley Auth., 128 F.3d 337, 345-46 (6th Cir. 1997).

       Here, the plaintiff appears to attempt the first showing suggested in Manzer. She argues

that the defendant’s reasons may or may not be true and that, as such, a jury must decide whether

the defendant’s motives in terminating her were improper. (See Docket No. 30 at 5 (“Plaintiff’s

work cost Integra customers. Maybe or maybe not.”).) The plaintiff offers nothing but her own

assertions to substantiate her claims that the defendant’s articulated reasons for her termination


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lack validity. (See, e.g., id. (“Ms. Peer’s affidavit says that it was Integra’s poor performance,

not hers, that cost the company business.”); id. at 6 (arguing that “Ms. Peer’s affidavit flatly

contradicts” the defendant’s assertion that “it had been [its] policy for employees to ask their

supervisors for permission to leave the office in writing” (citing Docket No. 31 ¶ 63)).)

         As the Sixth Circuit clearly articulated in Irvin, a plaintiff’s unsubstantiated denials of a

defendant’s legitimate, nondiscriminatory reasons for taking an adverse action against her are

not enough to carry her burden of demonstrating that the reasons are mere pretext for

discrimination. See Irvin, 837 F.2d at 726. In Irvin, that court rejected a plaintiff’s submission

of affidavits that “amount to nothing more than a denial of the proof . . . without setting forth the

basis for such a blanket denial.” Id. The plaintiff’s submissions in this case are much the same.

As such, the court finds that, like in Irvin, “[d]isputation of the facts underlying [the defendant’s]

legitimate . . . reason[s] for [its adverse action] is not sufficient to carry [the plaintiff’s] burden.”

         Accordingly, because the plaintiff has not met her burden of demonstrating pretext, the

defendant’s motion for summary judgment on her age discrimination claim will be granted. See

Abbott v. Crown Motor Co., 348 F.3d 537, 542 (6th Cir. 2003).




II.      No genuine issue of material fact exists as to whether the defendant retaliated
         against the plaintiff.

         The plaintiff alleges that the defendant retaliated against her when, following her

termination, it allegedly withdrew its offer of a contract position after it learned that she had filed

a charge of discrimination with the THRC. (See Docket No. 1 at 2.) Analysis of a Title VII


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retaliation claim supported by circumstantial evidence, such as the one advanced by the plaintiff

in this case, is conducted according to the McDonnell Douglas burden-shifting framework. See

Weigel v. Baptist Hosp. of E. Tenn., 302 F.3d 367, 381 (6th Cir. 2002); Christopher v. Stouder

Mem’l Hosp., 936 F.2d 870, 877 (6th Cir. 1991), cert. denied, 502 U.S. 1013 (1991).

       In order to establish a prima facie case of retaliation under this framework, a plaintiff

must demonstrate the following by a preponderance of the evidence: (1) she engaged in activity

protected by Title VII; (2) her exercise of such protected activity was known by the defendant;

(3) thereafter, the defendant took an employment action adverse to her; and (4) a causal

connection existed between the protected activity and the adverse employment action. Abbott v.

Crown Motor Co., 348 F.3d 537, 542 (6th Cir. 2003); EEOC v. Avery Dennison Corp., 104 F.3d

858, 860 (6th Cir. 1997). The burden of establishing a prima facie case in a retaliation action is

not onerous, but easily met. Nguyen v. City of Cleveland, 229 F.3d 559, 563 (6th Cir. 2000).

       Once a plaintiff demonstrates a prima facie case of retaliation, the burden of production

shifts to the defendant to articulate a legitimate, nondiscriminatory reason for the adverse action,

after which the plaintiff must demonstrate that the proffered reason was a mere pretext for

retaliation. See Abbott, 348 F.3d at 542; Williams, 132 F.3d at 1131.



       A.      Because no reasonable juror could find that the plaintiff has met her burden of
               establishing a prima facie case of retaliation, the court need not continue with
               its analysis.

       The court’s analysis of the plaintiff’s retaliation claim need not proceed beyond the

prima facie level because the plaintiff has failed to demonstrated that the defendant was aware of

her protected activity, i.e., that she had filed discrimination charges with the THRC. Indeed, the

plaintiff admits that she “has no evidence that [the defendant] received her THRC charge before

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rescinding its contract offer” and that such a conclusion “was just an assumption made on [her]

part.” (See Docket No. 31 ¶¶ 108, 110.)

       The defendant maintains that neither of the individuals who rescinded the plaintiff’s offer

were aware that the plaintiff had filed a THRC charge when they did so. (See id. ¶ 112.) Both

individuals have testified to this lack of awareness. (See Docket No. 25 ¶ 10 (testimony of

Integra President Gerald Pratt that the defendant sent the plaintiff a letter informing her of their

rescission of her offer “in the early afternoon of June 5, 2005" but did not receive notice of her

THRC charges until “[l]ater on that same day”); Docket No. 24, Ex. 3, at 29 (testimony of

Integra Director of Implementation and Quality Assurance Jason Hebert that, at the time he

rescinded the plaintiff’s offer, he did not know that she had filed a discrimination charge).

       The plaintiff does not rebut this testimony in any way. As such, she has not met her

burden to demonstrate by a preponderance of the evidence that the defendant was aware of her

protected activity before it terminated her. See Abbott, 348 F.3d at 542. As such, her retaliation

claim must fail and summary judgment will be granted for the defendant.

                                          CONCLUSION

               The plaintiff has failed to offer evidence that would allow a reasonable jury to

conclude that she has been subjected to discrimination or retaliation. Thus, the defendant’s

motion for summary judgment on these claims will be granted.

       An appropriate order will enter.




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                                               ALETA A. TRAUGER
                                               United States District Judge


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